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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )
                                     )
____________________________________)


                                        STATUS REPORT

       Defendant Robert Hunter Biden files this Status Report to bring to the Court’s attention the

status of the case filed against him in California and its overlap with issues pending in this matter:

       1.      Pursuant to this Court’s Order on October 19, 2023 (DE 57), Mr. Biden filed his

motions to dismiss the indictment on December 11, 2023; the prosecution filed its oppositions on

January 16, 2024; and, Mr. Biden filed his replies on January 30, 2024. The motions are now fully

briefed.

       2.      No other dates are presently scheduled in this case.

       3.      The Court is aware that on December 8, 2023, the prosecution filed separate charges

against Mr. Biden in the Central District of California. United States v. Robert Hunter Biden, Case

No. 2:23-cr-00599-MCS. On January 11, 2024, the Judge in California issued a scheduling order

(Minutes at DE 17) requiring Mr. Biden’s pretrial motions by February 20, 2024; opposition briefs

by March 11, 2024; any reply briefs by March 18, 2024; a hearing date for pretrial motions of

March 27, 2024; and, an anticipated date for deciding pretrial motions of April 17, 2024. Should

the case continue, a tentative trial date is scheduled for June 20, 2024.




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        4.     On February 8, 2024, Mr. Biden requested that only those pretrial motions unique

to the California case be filed to promote judicial economy, conserve party resources, and avoid

duplicative or different rulings. (Ex Parte Application for an Order to Modify Pretrial Motions

Deadline, DE 21 (citing Heieck v. Federal Signal Corp., 2019 WL 1883895, at *2 (C.D. Cal., Mar.

11, 2019) (“[W]hen cases between the same parties raising the same issues are pending in two or

more federal districts, the forum of the first-filed action should generally be favored”)).)1

        5.     On Friday February 9, the Court in California denied that request. (DE 22.)

However, at the initial appearance on January 11, 2024, the Judge in California specifically

recognized the issues resulting from two different cases in two different jurisdictions having

motions that would overlap and stated: “So what I’m going to do is, I’ll go ahead and issue an

order with [scheduling deadlines]. That will hopefully prevent conflict with Delaware, because

this order will be in place and the Court in Delaware will likely be aware of it.” (1/11/2024 Tr. at

17:6-10).

        6.     This Court already may be aware of the California Court’s schedule and statement

to “prevent conflict with Delaware.” On the chance that is not the case, Mr. Biden hereby files

this Status Report and is available for a status conference or any other proceeding the Court would

deem appropriate.




1
 The Third Circuit also applies the “first-filed rule” in cases with federal concurrent jurisdiction,
which counsels deference to the suit that was filed first, when two lawsuits involving similar issues
and parties are pending in separate federal district courts. See Honeywell Int’l, Inc. v. Int’l Union,
502 F. Appx. 201, 205 (3d Cir. 2012); EEOC v. Univ. of Pa., 850 F.2d 969, 971 (3d Cir. 1988).
The “first-filed” rule in the civil context is analogous here given the unique and rare situation in
which two different criminal cases, with the same motions and same parties, are simultaneously
pending in parallel court proceedings.
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Dated: February 12, 2024           Respectfully submitted,


                                   /s/ Abbe David Lowell
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of February, 2024, I filed the foregoing Status Report

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing to

all counsel of record.

                                                     /s/ Abbe David Lowell
                                                     Abbe David Lowell

                                                     Counsel for Robert Hunter Biden




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